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                                     UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                     Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                    MOTION INFORMATION STATEMENT

Docket Number(s): 25-1687                                                                             Caption [use short title]
Mothon for' stay pending appeal and immediate                                  Petersen Energia Inversora S.A.U. et al.
administrative stay.                                                           V. Argentine Republic


Set forth below precise, complete statement of relief sought:

Appellant respectfully requests a stay pending the appeal

of the District Court's Turnover Order, dated June 30, 2025,

and seeks an immediate administrative stay in the
interim.




MOVING PARTY: Argentine Republic                                         OPPOSING PARTY: Petersen Energia Inversora S.A.U. et al.

         E    Plaintiff               E   Defendant

         lil  Appellant/Petitioner   II  Appellate/Respondent

MOVING ATTORNEY: Robert J. Giuffra, Jr.                                 OPPOSING ATTORNEY: Paul D. Clement
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Court- Judge/ Agency appealed from: Southern District of New York (Preska, J.)

Please check appropriate boxes:                                              FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                             INJUNCTIONS PENDING APPEAL:
                                                                                                                                                   l
           9
 Has movant notified O posing counsel (required by Local Rule 27.l):
             Yes KTNo (explain):
                                                                              Has this request for relief been made below?
                                                                              Has this relief been previously sought in this court?
                                                                                                                                    Yes III No
                                                                                                                                    Yes     No    L l
                                                                             Requested return date and explanation of emergency:                   July 14, 2025
                                                                              Appellant requests that an interim stay be issued by Monday, July 14, 2025, which is

           EUnopposed
Does opposing co
                           9
Opposing counsel's position on motion:
                         Opposed Don't Know
                      tend to file a response:
                                                                              the date by which Appellant has been ordered to comply with the District Court's June 30,
                                                                              2025 Order. Appellant respectfully requests that this Court rule by 10:00 a.m. on that date,


          I W
            Yes       o       Don't Know
                                                                              so that the Appellant may seek relief from the Supreme Court, if necessary.



                                                      (as to stay motion but not emergency interim stay)
Is the oral argument on motion requested?       9 [I  Yes        No (requests for oral argument will not necessarily be granted)


Has the appeal argument date been set?          E E   Yes         No If yes, enter date:


Signature of Moving Attorney:
                                            Date: 07/10/2025                                 .
                                                                                 Service : -\Electronic         [I     Other [Attach proof of service]

Form T-1080 (rev. 10-23)
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               for the éennnb Cniircuit

PETERSEN ENERGIA INVERSORA S.A.U., PETERSEN ENERGIA S.A.U.,
                              Plaint%'-Appellees,
                                   v.
                      ARGENTINE REPUBLIC,
                                 Defendant-Appellant.


           On Appeal from the United States District Court
               for the Southern District of New York
            (No. 1:15-cv-02739) (Hon. Loretta A. Preska)

         EMERGENCY MOTION FOR STAY PENDING
      APPEAL AND IMMEDIATE ADMINISTRATIVE STAY

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                                  INTRODUCTION

       This emergency motion relates to the appeal of a record-setting $16.1 billion

judgment against the Argentine Republic, which is separately pending before this

Court. That judgment rests on a series of fundamental errors about Argentine-law

questions of first impression. See Petersen Energize Inversora, SA. U. V. Argentine

Republic, Nos. 23-7370, 23-7463, 23-7614, Eton Park Capital Management, L.P. V.

Argentine Republic, Nos. 23-7376, 23-7471, 23-7667. But while its deeply flawed

judgment awaits this Court's review, the district court entered another

unprecedented order: on June 30, 2025, it required the Republic to transfer sovereign

property located in Argentina its 51% of Class D shares in the biggest Argentine

energy company, YPF S.A. (the YPF Shares)             to a New York bank by July 14,

2025, for turnover to plaintiffs. See Dkt. 742 (Turnover Order, attached as Exhibit

A).1 To state that more simply: the district court has required a sovereign nation to

transfer its foreign-located majority stake in its largest energy company to a U.S.

bank for further transfer to plaintiffs. To flip the script, this order is akin to a foreign

trial court directing the U.S. Government to pack up the gold stored at Fort Knox

and ship it abroad based on that court's erroneous interpretation of U.S. law.

       The district court's Turnover Order violates fundamental principles of U.S.

and international law and demands this Court's immediate review. First, the district


1 Unless specified, all docket citations are to the Petersen district court docket.
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court concluded over the U.S. Government's objection that there is no execution

immunity for foreign-located sovereign propeity. Second, the court held that

execution of the Republic's YPF Shares is permissible under Section 1610(a)(2) of

the Foreign Sovereign Immunities Act (FSIA), even though the shares: (1) are

located in Argentina, (2) have been used only in Argentina, and (3) were not "used

for the commercial activity upon which the claim is based" under plaintiffs' own

liability theory, see Dkt. 437 at 50. Third, the court rejected foundational principles

of international comity, directing the Republic to take action in Argentina that would

violate Argentine law. The Republic is likely to succeed on its appeal of any one of

those holdings, each of which would be a sea change in how the U.S. legal system

interacts with the rest of the world.

      The stakes could not be higher for Argentina. If the Turnover Order is not

stayed while on appeal, the Republic will suffer irreparable harm to its sovereignty,

and be forced to choose between changing its own domestic laws, violating those

laws, or disregarding a U.S. court's order. Additionally, compliance with the

Turnover Order even if possible would result in the irrevocable loss of a

controlling stake in Argentina's largest energy company. At bottom, the Turnover

Order would result in a U.S. court reversing a lawful foreign expropriation, "a

decidedly sovereign rather than commercial activity" carried out in the "national




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public interest." Petersen Energize Inversora SA. U V. Argentine Republic, 895 F.3d

194, 202, 205 (Zd Cir. 2018).

      Plaintiffs and their litigation funder, on the other hand, will suffer no harm in

waiting for this CouIt's decisions in the Republic's appeal of the $16.1 billion

judgment and its appeal of the Turnover Order. The Republic and its YPF Shares

are not going anywhere, as Argentine law prohibits their transfer without
supermajority approval of the Argentine Congress. The Republic is also prepared

to brief its appeal of the Turnover Order on an expedited basis.

      Finally, the public interest is served by maintaining the status quo. Immediate

enforcement of the Turnover Order would adversely affect numerous non-parties

and destabilize YPF and the Argentine economy, all before this Court can consider

this unprecedented order and the judgment underlying it.

      The Turnover Order sets a July 14 deadline for the Republic to transfer the

YPF Shares, and the district court has not yet taken action on the Republic's stay

request. This Court should therefore order an immediate administrative stay to allow

it to consider this motion, and should stay the Turnover Order while the Republic

appeals it.   The Republic respectfully requests that this Court rule on the

administrative stay by 10:00 a.m. on Monday, July 14, so that the Republic can seek

relief from the Supreme Court, if necessary.




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                                 BACKGROUND
      1.     On September 15, 2023, the district court entered a combined $16.1

billion judgment in two actions against the Republic, based on its alleged violation

of YPF's corporate bylaws. That judgment is currently on appeal. See Dkt. 504. As

the Republic has explained in that appeal,2 the district court made numerous errors

of Argentine and U.S. law. For instance, it refused to dismiss these claims under

Argentine law, against the Republic, concerning the alleged violation of the bylaws

of an Argentine corporation after an expropriation in Argentina under forum non

conventens or international comity.        The court also repeatedly misconstrued

Argentine public and private law, including by (i) recognizing the first-ever contract

action for damages for "breach" of corporate bylaws, (ii) disregarding the bylaws'

exclusive penalty provision, and (iii) overriding Argentina's comprehensive system

for third-party claims arising from an expropriation. In addition, the court grossly

inflated damages by relying on a currency-conversion rule that New York abrogated

decades ago. Briefing on that appeal concluded on September 6, 2024, and this

Court has not set an oral argument date.

      2.     Plaintiffs' attempts to execute on this extraordinary judgment have

been equally extraordinary. While the Republic's appeal is pending, plaintiffs filed



2
      See Petersen Energize Inversora, SA. U V. Argentine Republic, No. 23-7370
(2d Cir. filed Sept. 6, 2024), Dkt. 228 at 29-81.


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a motion in the district court seeking an order requiring the Republic (1) to transfer

its YPF Shares held in Argentina into a global custody account at Bank oflNew York

Mellon (BNYM) in New York, and (2) to instruct BNYM to transfer ownership

interests in those shares to plaintiffs or their designees. See Dkt. 555. The Republic

opposed plaintiffs' motion because the FSIA, principles of international comity, the

act-of-state doctrine, federal common law, and New York law all prohibit reaching

into a foreign nation to grab its property for turnover in the United States. The

United States filed a Statement of Interest supporting the Republic, "reiterat[ing] its

long-standing position that foreign sovereign property located abroad is not subject

to execution in U.S. courts." Dkt. 679 (U.S. Statement) at 1.

      On June 30, 2025, without oral argument, the district court granted plaintiffs '

motion. The court ordered the Republic to "(i) transfer its Class D shares of YPF to

a global custody account at BNYM in New York within 14 days" and "(ii) instruct

BNYM to initiate a transfer of the Republic's ownership interests in its Class D

shares of YPF to Plaintiffs" the following day. Turnover Order 33. The court

simultaneously entered a nearly identical order in a separate action against the

Republic. See Bainbridge Fund Ltd. V. The Republic of Argentina, No. 16-cv-8605

(LAP), Dkt. 189. And plaintiffs in 15 other actions quickly filed "me too" motions

thereafter. See Arrestor Master Value Fund LP V. The Republic of Argentina, No.

14-0v-5849 (LAp), Dkt. 197.



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      3.     On July 1, 2025, the day after the district court's Turnover Order, the

Republic moved the district court for a stay pending appeal. After letter briefing,

which concluded on July 8, the district court has not ruled on the Republic's motion.

The Republic noticed its appeal on July 10, 2025 .

                                    ARGUMENT

      This Court should stay the district court's Turnover Order pending appeal. A

stay turns on four factors: "(1) whether the stay applicant has made a strong showing

that he is likely to succeed on the merits, (2) whether the applicant will be irreparably

injured absent a stay, (3) whether issuance of the stay will substantially injure the
                                                                                       97
other parties interested in the proceeding, and (4) where the public interest lies.

inken V. Holder, 556 U.S. 418, 434 (2009) (citation omitted). These factors are

evaluated on a "sliding scale" "more of one excuses less of the other." Thapa V.

Gonzales, 460 F.3d 323, 334 (2d Cir. 2006) (citation omitted). The "first two factors

... are the most critical." inken, 556 U.S. at 434.

      Each of the four factors favors the Republic indeed, overwhelmingly so.

      First, the Republic's appeal raises substantial legal questions on which the

Republic is likely to succeed. No other U.S. district court has ever issued an order

like this one, which casts aside federal-common-law principles barring the execution

of a foreign sovereign's extraterritorial assets, dramatically expands the scope of the

FSIA Section 1610(a)'s "used for a commercial activity in the United States"



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exception, and directs a foreign sovereign to change its own laws to comply with the

U.S. court's order.

      Second, absent a stay, the Republic will be irreparably injured. Plaintiffs have

stated that they intend to sell the Republic's majority stake in YPF, Argentina's

largest energy company, which has operated under the Republic's majority

ownership for over a decade. A change in control of YPF would be impossible to

unwind and, in the interim, could cause immense uncertainty and destabilize the

company and the Argentine economy.

      Third, plaintiffs will not be injured by the issuance of a stay because Argentine

law prohibits the Republic from transferring the YPF Shares without a two-thirds

vote of the Argentine Congress.

      Fourth, the public interest supports a stay because the turnover of the YPF

Shares would substantially harm not just the Republic but also YPF, its minority

shareholders, commercial partners, and 23,000 employees, the hydrocarbon-

producing Argentine Provinces, the people of Argentina, and the United States's

global reputation.

I.    THE REPUBLIC IS LIKELY TO PREVAIL ON THE MERITS.

      On at least three independent grounds, the Republic is likely to prevail on the

merits, including that (1) federal common law bars execution on sovereign property

outside the United States, (2) turnover here would be barred by the FSIA regardless,



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and (3) the Turnover Order violates principles of international comity. At the very

least, the Republic has demonstrated a "substantial possibility" of success on these

serious legal issues. Mohammed V. Reno, 309 F.3d 95, 101 (Zd Cir. 2002) (citation

omitted) .

       A.    Federal Common Law Bars Execution on Foreign-Sovereign
             Property Outside the United States.

      Before the FSIA's enactment, "property of foreign states was absolutely

immune from execution" whether within or outside the United States as a matter

of federal common law. Walters V. Indus. & Com. Bank of China, 651 F.3d 280,

289 (2d Cir. 2011) (citation omitted). In 1976, Congress passed the FSIA, in part,

"to codify the restrictive theory of sovereign immunity." Samantar V. Yousuf, 560

U.S. 305, 319 (2010). The FSIA provides that "the property in the United States of

a foreign state" is "immune from attachment arrest and execution except as provided

in sections 1610 and 1611." 28 U.S.C. § 1609 (emphasis added). Sections 1610 and

1611, in turn, specify when foreign-sovereign property located in the United States

is available for execution. See 28 U.S.C. §§ 1610, 1611.

      In enacting the FSIA against the backdrop of an established sovereign-

immunity regime, Congress only "partially lower[ed] the barrier of immunity from

execution." H.R. Rep. No. 94-1487, at 27 (1976). Congress did not mention foreign-

sovereign property outside the United States thus preserving the longstanding

common-law immunity from execution of such property. See United States V. Texas,

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507 U.S. 529, 534 (1993) ("In order to abrogate a common-law principle, the statute

must 'speak directly' to the question addressed by the common law.") (citation

omitted). Indeed, the Supreme Court has made clear that the FSIA does not occupy

the field of foreign sovereign immunity: "[e]ven if a suit is not governed by the

[FSIA], it may still be barred by foreign sovereign immunity under the common

law." Samantar, 560 U.S. at 324.

      Thus, federal courts have long agreed that the FSIA's abrogation of execution

immunity for some foreign sovereign property in the United States does not vitiate

execution immunity for all foreign sovereign property outside the United States. As

the Fifth Circuit has explained, Congress "did not intend to reverse completely the
                                                                                      97
historical and international antipathy to executing against a foreign state's property.

Conn. Bank of Com. V. Republic of Congo, 309 F.3d 240, 252 (5th Cir. 2002).

      The overwhelming weight of authority in this Circuit and elsewhere holds that

a foreign sovereign's extraterritorial property remains absolutely immune from

execution as a matter of U.S. law. See, et., EM Ltd. V. Republic of Argentina, 695

F.3d 201, 208 (2d Cir. 2012) ("district court sitting in Manhattan does not have the

power to attach Argentinian property in foreign countries"), Walters, 651 F.3d at

297 (China's assets "outside of the United States" are "categorically immune from

execution under the FSIA"), Peterson V. Islamic Republic of lran, 627 F.3d 1117,

1130 (9th Cir. 2010) (property not "in the United States" was "immune from


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execution"), Autoteeh Techs. LP V. Integral Research & Dev. Corp., 499 F.3d 737,

750 (7th Cir. 2007) ("The FSIA did not purport to authorize execution against a

foreign sovereign's property ... wherever ... located around the world."), see also

U.S. Statement 5.

      In rejecting this longstanding consensus, the district court relied on its own

earlier decision in Bainbridge Fund Ltd. V. Republic of Argentina, 690 F. Supp. 3d

411 (S.D.N.Y. 2023), which in turn rested almost exclusively on this Court's now-

vacated decision in Peterson V. Islamic Republic of lran,876 F.3d 63 (2d Cir. 2017),

judgment vacated sub nom. Clearstream Banking S.A. V. Peterson, 140 S. Ct. 813

(2020). In Peterson, this Court held that a New York court could "recall to New

York extraterritorial assets owned by a foreign sovereign." Peterson, 876 F.3d at

92. The Peterson panel pointed to the Supreme Court's decision in Republic of

Argentina V. NML Capital, Ltd., 573 U.S. 134 (2014), which supposedly "abrogated

decades of pre-existing sovereign immunity common law" and held that the FSIA

solely governs sovereign immunity. Peterson, 876 F.3d at 69, 89. Before the

Supreme Court, the U.S. Government filed a brief explaining that this Court had

overread the Supreme Court's NML decision. U.S. Br. 13-15, Clearstream Banking

SA. V. Peterson, 17-1529 & 17-1534 (U.S. Dec. 9, 2019). After an intervening

statutory amendment, the Supreme Court vacated this Court's decision and

remanded.



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      Now that Peterson has been vacated, the district court erred by continuing to

rely on Peterson 's misreading of NML. As NML's opening sentence makes clear,

the question there was about whether the FSIA "limits the scope of discovery

available to a judgment creditor in a federal postjudgment execution proceeding

against a foreign sovereign," not whether a foreign sovereign's extraterritorial assets

are immune from execution. NML, 573 U.S. at 136, see id. at 140 (describing the

"single, narrow question" before the Court). The Supreme Court did not quietly

wipe away centuries of execution law. As to execution, NML recognized that U.S.

"courts generally lack authority in the first place to execute against property in other

countries," which occurs "under the relevant jurisdiction's law." 573 U.S. at 144,

see Rubin V. Islamic Republic of lran, 830 F.3d470, 475 (7th Cir. 2016) (citing NML

in explaining that, to be "even potentially subject to attachment and execution,"

property must be "within the territorial jurisdiction of the district court") .

       To be sure, the Supreme Court also noted that the briefing in NML did not

support the distinct proposition that "extraterritorial assets enjoyed absolute

execution immunity in United States courts" an observation that the Peterson

panel emphasized. 573 U.S. at 144, see Peterson, 876 F.3d at 90. But that execution

question was not before the Court. And the Supreme Court plainly does not view

NML as having resolved that question, given that it called for the views of the

Solicitor General in Peterson. See U.S. Br. 1, Clearstream Banking S.A. V. Peterson,



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17-1529 & 17-1534 (U.S. Dec. 9, 2019). Moreover, since NML, the Supreme Court

has further confirmed that the FSIA does not solely occupy the field of foreign

sovereign immunity. See Turkiye Halk Bankasi A.S. V. United States, 598 U.S. 264,

280 (2023).

      The U.S. Government reiterated these principles in the district court. As it

explained in supporting the Republic, "common law sovereign immunity principles

that predate the FSIA continue to preclude execution by judgment creditors against

foreign sovereign propeity outside the United States.       97
                                                                 U.S. Statement 5.

"Accordingly, to the extent New York's turnover statute, CPLR 5225, can be

construed as applying to a foreign sovereign's property outside of the United States,

such execution is barred by federal common law." Id. 3

      B.      The FSIA Independently Bars Turnover Here.

      Even if a foreign sovereign's non-U.S. assets were subject to execution, the

FSIA permits execution only in narrow circumstances not present here. The district

court erred in holding that the Republic's YPF Shares fell into the exception

enumerated in FSIA Section 1610(a)(2), Turnover Order 16-23, for a foreign state's



3
       On appeal, the Republic also intends to argue that New York's statute should
be construed to preclude execution on non-U.S. sovereign property, which would
violate both traditional common-law principles and international law. See pp. 16-
18, infra. New York generally construes its laws not to abrogate common-law
immunity principles without a "clear and specific" statement to that effect.
Ezrasons, Inc. V. Rudd, 2025 WL 1436000, at *4 (N.Y. May 20, 2025).


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property (1) "in the United States," (2) "used for a commercial activity in the United

States," and (3) "used for the commercial activity upon which the claim is based."

28 U.S.C. § 1610(a)(2). The Turnover Order fails each of those requirements.
                                                                                      97
      First, the Republic's YPF Shares are not and cannot be "in the United States.

28 U.S.C. § 1610(a). As the district court recognized, the Republic's YPF Shares,

like all YPF shares, are book-entry shares maintained only in Argentina with Caj a

de Valores. S.A., a privately owned securities depositary in Argentina. Turnover

Order 6, 27 (even after "[t]ransferring the Shares to a global custody account at

BNYM in New York," "the Shares would remain in the register maintained by [Caj a

de Valores] in Argentina"). Because this first element of Section 1610(a) cannot be

satisfied, the court should have ended its analysis.

      Circumventing this statutory requirement, the district court concluded that it

could order Argentina to deliver the YPF Shares into the United States under

C.P.L.R. Section 5225. Turnover Order 23-27. As the U.S. Government explained,

the court's interpretation "renders the FSIA's clear statutory prerequisite that foreign

sovereign property be located in the United States a nullity." U.S. Statement 8.

Section 1610(a) covers only the execution or attachment of "[t]he property in the

United States of a foreign state," not property that a district court could
simultaneously order to be brought here and then deemed exempt from immunity.

See U.S. Statement 8-9 ("Every [non-vacated] decision of a court of appeals that has



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addressed the issue ... has treated the presence of foreign sovereign property in the

United States as a prerequisite to execution in U.S. courts.").

      Second, the Republic's YPF Shares are not "used for a commercial activity in

the United States." 28 U.S.C. § 1610(a). As the district court found, the Republic

"used" its YPF Shares to "vote[] to elect the Board and to approve initiatives

generally proposed by the Board." Turnover Order 19. But under Argentine law,

all YPF shareholder meetings must and do take place in Argentina. See Dkt. 577

at 6. In other words, the commercial activity for which the Republic has used the

YPF Shares      whether voting or any other shareholder activity occurred
exclusively in Argentina. Even if YPF subsequently conducted its own commercial

activity in the United States, YPF is a separate entity whose actions cannot be

attributed to the Republic. See Rubin, 830 F.3d at 480 ("foreign state[s] may lose

execution immunity only by virtue of their own commercial use of their property in

the United States").

      The district court nevertheless created a sweeping new rule for commercial

activity: "a foreign sovereign's use of its controlling shares to direct a company's

commercial activity in the United States satisfies" the FSIA's commercial-activity

in-the-United States requirement, regardless of where the sovereign's shareholder

activities occur. Turnover Order 18. In support of its extraordinary rule, the court

cited three cases. None applies. In Crysta llex International Corp. V. Bolivarian


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Republic of Venezuela, the Third Circuit concluded that Venezuela, through its alter-

ego PDVSA, voted PDVSA's shares in a wholly owned US. subsidiary, and that

voting the shares of a U.S. company constituted using those shares for commercial

activity in the United States. 932 F.3d 126, 151-52 (3d Cir. 2019). Similarly, in In

re 650 FWIQ Ave. & Related Properties, the district court held that Iran used shares

in a New York entity in New York. 2014 WL 1284494, at *13, 17 (S.D.N.Y.

Mar. 28, 2014), vacated & remanded sub nom. Kirsehenbaum V. 650 FWh Ave. &

Related Props., 830 F.3d 107 (2d Cir. 2016). And in Foremost-McKesson, Inc. V.

Islamic Republic of lran, the court assessed jurisdictional immunity based on Iran 's

conduct not the activities of the corporation it allegedly controlled in "a

corporate dispute between maj rarity and minority shareholders." 905 F.2d 438, 450

(D.C. Cir. 1990).     Each decision turned on U.S. commercial activities of the

defendant, or its alter-ego. By contrast, the district court here held for the first time

that the mere voting of shares in a non-U.S. corporation outside of the United States
                                                                  97
constitutes "use for a commercial activity in the United States.

      Third, the Republic's YPF Shares have never been used "for the commercial

activity upon which the claim is based." 28 U.S.C. § 1610(a)(2). In its liability

decision, now on appeal, the district court held that the expropriated "shares were

not the source of the tender offer obligation" underlying plaintiffs' claims, and thus

that Argentina's General Expropriation Law did not preempt those claims. Dkt. 437



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at 53, see id. at 50 ("[T]he tender offer obligation is not attached to the shares that

the Republic acquired."). In the Turnover Order, by contrast, the court held that the

expropriated shares were used "to effectuate the breach of the tender offer obligation

because [control of the shares] ensured that (1) the bylaws would never be enforced

and (2) the Republic holds the Shares today." Turnover Order 21. These

inconsistent rulings confirm why this Court should first resolve the merits of the

district coult's $16.1 billion judgment.

      c.     The Turnover Order Violates Longstanding Principles of
             International Comity.

      Even if it were otherwise permitted under the FSIA, the Turnover Order

violates established principles of international comity. International comity is "the

recognition which one nation allows within its territory to ... another nation, having

due regard to both international duty and convenience, and to the rights of its own

citizens or of other persons who are under the protections of its laws." Societe

Nationale Indus trielle Aerospatiale V. U.S. Dist. Cr. for S. Dist. of lowa, 482 U.S.

522, 543 n.27 (1987) (citation omitted). Under prescriptive comity, "it is well

established that 'a state may not require a person to do an act in another state that is

prohibited by the law of that state."' Motorola Credit Corp. V. Uzan, 388 F.3d 39,

60 (2d Cir. 2004) (quoting Restatement (Third) of Foreign Relations Law § 441

(1987)) Here, the district court ruled that this doctrine did not apply because no



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"unavoidable conflict" existed between requiring the Republic to turn over its YPF

Shares and Argentine law. Turnover Order 30. That is demonstrably wrong.

      Since 2012, Argentine law has barred the transfer of the Republic's YPF

Shares to anyone "without the permission of the National Congress by a two-thirds

vote of its members.   97
                            See Dkt. 578-1 (YPF Expropriation Law) Art. 10.

Notwithstanding this clear Argentine law, the district court concluded that there is

"no unavoidable conflict between Argentine law and Plaintiff' S requested relief'

because the Republic "has several choices," including to "(1) receive the permission

of the National Congress by two-thirds vote, (2) take action to change the law, or (3)

satisfy the judgment through a separate agreement with Plaintiffs." Turnover Order

30.

      The district court's purported "choices" demonstrate the impermissible

conflict between its Turnover Order and Argentine law. The first two choices

purport to require the Argentine Congress to change a law enacted years before this

litigation. That is not the absence of a conflict, it is directing Argentine lawmakers

to eliminate the conflict by bending to a U.S. court's order. And federal courts
                                                                                    97
cannot require "the legislature of a foreign sovereign" to "enact or change a law.

In re Austrian, German Holocaust Litig., 250 F.3d 156, 164-65 (2d Cir. 2001).

Meanwhile, the third "choice" that the Republic could hypothetically satisfy the




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$16.1 billion judgment by settling with plaintiffs simply assumes away the need to

comply with the district court's order.

II.   THE REPUBLIC WILL BE IRREPARABLY INJURED ABSENT A
      STAY.

      Without any doubt, the Republic will be irreparably injured without a stay.

      First, the turnover will have immediate and irreversible consequences. Even

in a run-of-the-mill case, "the denial of a controlling ownership interest in a

corporation may constitute irreparable harm." Wisdom Imp. Sales Co. V. Laban

Brewing Co., 339 F.3d 101, 114 (2d Cir. 2003). Here, the Repub1ic's potential loss

of majority control is magnified because YPF is Argentina's largest energy

company. The change in control from the Republic to unknown third-parties would

create uncertainty that could destabilize YPF and affect the Argentine economy. In

addition, plaintiffs have made clear that they intend to sell the YPF Shares once

transferred to them. Dkt. 587 at 19 (asking district court to "instruct BNYM to

transfer the shares to the U.S. Marshal for the S.D.N.Y. for sale to the public")

(emphasis added). Without a stay, "it will be impossible to put the genie back in the

bottle," and thus "irreparable harm ... is all but guaranteed." In re 650 FW/1 Ave.

& Related Props., 2020 WL 3000382, at *3 (S.D.N.Y. June 4, 2020).

      Second, the Turnover Order would irreparably harm the Republic's

sovereignty by requiring it to change or violate its own laws. In enacting the YPF

Expropriation Law in 2012, the Argentine Congress declared that the Republic's


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expropriation of the YPF Shares was of "public interest" and prohibited "any future

transfer of the shares" without a two-thirds vote. See YPF Expropriation Law, Art.

10. In other words, the Republic made a sovereign choice to expropriate 51% of

Argentina's largest energy company, whose operations are critical to Argentina's

economy.      The district court's order overrides that choice, undoing this

quintessentially sovereign act. Federal courts have repeatedly found that such an

infringement on a core sovereign power constitutes irreparable harm. See, et.,

Seneca Nation of lndians V. Paterson, 2010 WL 4027795, at *2 (W.D.N.Y. Oct. 14,

2010) ("enforcement of a statute or regulation [that] threatens to infringe upon a ...

right of sovereignty [satisfies] the irreparable harm requirement"), Ute Indian Tribe

of Uintah & Our ay Reservation V. Utah, 790 F.3d 1000, 1005 (10th Cir. 2015)

("invasion of ... sovereignty can constitute irreparable injury") (citation omitted),

Mashpee Wampanoag Tribe V. Bernhardt, 2020 WL 3034854, at *3 (D.D.C. June 5,

2020) ("loss of sovereign authority, self-government, and jurisdiction ... is

unquestionably an irreparable harm") .

      In opposing a stay in the district court, plaintiffs contended that the Republic

"cannot claim irreparable harm" because any harm is "self-inflicted," meaning that

the Republic did not satisfy the district couIt's conditions for a stay of its underlying

judgment. Dkt. 745 at2. But the Republic could not satisfy those conditions "legally

or practically" under Argentine law, for some of the same reasons that it cannot


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comply with the Turnover Order. Dkt. 531 at 1-2. In any event, that execution of

the underlying money judgment is not stayed does not foreclose a showing of

substantial harm from any subsequent turnover order.

III.   PLAINTIFFS WOULD SUFFER NO HARM FROM A STAY.

       In contrast with the Republic's significant harms, plaintiffs would suffer "no

appreciable harm" from a stay, which "does nothing more than maintain the status

quo." US. S.E. C. V. Citigroup Glob. Mkts. Inc., 673 F.3d 158, 168 (2d Cir. 2012).

The Republic is not going anywhere and cannot sell its YPF Shares absent action by

the Argentine Congress. See YPF Expropriation Law, Art. 10.               This alone

"eliminate[s] the risk of asset dissipation" pending appeal. Citibank, NA. V. Aralpa

Holdings Ltd. P'shzp, 2024 WL 664782, at *3 (S.D.N.Y. Feb. 16, 2024) (granting

stay of turnover order pending appeal where temporary restraining order prohibited

disposition of assets), see SDF9 Cobk LLC V. AF & AR LLC, 2015 WL 3440259, at

*3 (E.D.N.Y. May 27, 2015) (granting stay pending appeal where there was

"virtually no risk of asset dissipation"). And in suggesting that Argentine law might

change, plaintiffs have pointed only to a proposed non-binding resolution that

rearms the existing two-thirds requirement. Dkt. 745 at 3, see Dkt. 746-1 at 2.

       To the extent that plaintiffs raise the delay of payment of the judgment as a

harm, that delay merits little weight. See In re Johns-Manville Corp., 27 F.3d 48,

49 (2d Cir. 1994) (affirming stay even though trust beneficiaries would "experience



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delays in receiving payments" from the trust), In re 650 FWh Ave., 2020 WL

3000382, at *4 (delay of payment of judgment does "not strongly" "weigh[] against

a stay"). The underlying judgment accrues interest and plaintiffs are not operating

entities the Petersen plaintiffs are in bankruptcy proceedings in Spain and the Eton

Park plaintiffs are in liquidation. This Court could also mitigate any concerns on

that front by ordering expedited briefing on appeal, to which the Republic would not

object.

Iv. THE PUBLIC INTEREST WEIGHS HEAVILY IN FAVOR OF A
      STAY.

      The public interest unquestionably supports a stay. Unlike the typical

"commercial dispute ... between two companies," E./Brooks Co. V. Cambridge Sec.

Seals, 2016 WL 908633, at *2 (S.D.N.Y. Mar. 2, 2016), this dispute affects

Argentina's sovereignty and national governance. It also has implications far

beyond the parties here. YPF is a publicly traded company that employs more than

23,000 people and has 49% of its outstanding equity held by shareholders other than

the Republic. See Dkt. 560 at 6-7. A change of control could, for example, trigger

irreversible events under YPF's debt instruments or its bylaws' tender-offer

requirement. Id., see Dkt. 363-1 § 7. Besides YPF, its investors, and its commercial

partners, the Turnover Order would also affect the hydrocarbon-producing

Argentine Provinces, which would potentially be affected by changes in company

policies or governance. See Dkt. 560 at 6. Any impact on YPF, Argentina's largest


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energy company, could even jeopardize Argentina's ongoing efforts to stabilize its

economy in cooperation with the IMF.

      Finally, a stay serves judicial efficiency by maintaining the status quo while

the underlying judgment is also on appeal. The Republic strongly believes that it

will prevail on that appeal, which will moot the Turnover Order. This Court should

allow that appeal process to conclude before wading into the enormous task of

transferring ownership and control of 51% of Argentina's largest energy company.

                                 CONCLUSION

      The Court should stay the Turnover Order pending appeal and grant an

immediate administrative stay in the interim.




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                                               Respectfully submitted,

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July 10, 2025




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                       CERTIFICATE OF COMPLIANCE

      This motion complies with Federal Rule of Appellate Procedure 27(d)(2)(A)

because it contains 5,169 words.

      This motion also complies with the requirements of Federal Rule of Appellate

Procedure 27(d) and 32(a) because it was prepared in 14-point font using a

proportionally spaced typeface.

                                              /s/ Robert J Giuffra, Jr.
                                              Robert J. Giuffra, Jr.

July 10, 2025
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                          CERTIFICATE OF SERVICE
      I hereby certify that on July 10, 2025, I filed the foregoing motion with the

Clerk of Court for the U.S. Court of Appeals for the Second Circuit through the

appellate CM/ECF system. I certify that all participants in this case are registered

CM/ECF users and that service will be accomplished by the appellate CM/ECF

system.



                                              /s/ Robert J Giuffra, Jr.
                                              Robert J. Giuffra, Jr.

July 10, 2025
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        EXHIBIT A
    Case 1:188863-839EKp07/.6%@u0m28hP¥I8""Y¢iF8d'08881533 09888 1 of 33




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PETERSEN ENERGIA INVERSORA,
S . A. U . ET AL. ,

                         Plaintiff,
                                                  No. 15 Civ. 02739 (LAP)
-against-

ARGENTINE REPUBLIC ET AL.,

                         Defendants

ETON PARK CAPITAL MANAGEMENT
L.P. ET AL.,

                         Plaintiff,
                                                  No. 16 Civ. 08569 (LAP)
-against-                                              MEMORANDUM & ORDER
ARGENTINE REPUBLIC ET AL.,

                         Defendants

LORETTA A. PRESKA, Senior United States District Judge l

     Plaintiffs        Petersen      Energize    Inversora      S .A.U• r   Petersen

Energia, S.A.U., Eton Park Capital Management, L.p., Eton Park

Master    Fund,       Ltd. ,   and    Eton      Park    Fund,    L.p.,      (together

"Plaintiffs") seek turnover of Defendant the Argentine Republic's

("Defendant" or "the Republic" or "Argentina") 51% of YPF S.A.'s

("YPF") Class D shares (the "Shares") in par rial satisfaction of

the Cour t's judgment in the aggregate amount of approximately $16.1

billion, which remains unpaid, pursuant to Federal Rule of Civil



1 References to the docket refer to the lead case, Petersen Energize
Inversora, S.A.U. et al. v. Argentine Republic et al., No. 15 Civ.
02739.
    Case 1;1888963-839L8Zp07'6%@u°m28hP¥I8"'W|éaF8d108738834 °I»88e 2 of 33




Procedure 69(a) (1), New York Civ il Practice Law and Rules ("NY
CPLR")   § 5225(c), and New York Uniform Commercial Code ("NY UCC")
§ 8-112(e)   2   Plaintiffs request that the Court order the Republic
to (i) transfer the Shares to a global custody account at the Bank
of New York Mellon ("BNYM") in New York within 14 days from the
date of this order; and (ii) instruct BNYM to initiate a transfer
of the Republics        ownership interests in its YPF shares to
Plaintiffs or their designees within one business day of the date
on which the shares are deposited into the account                 (Pl. Mot.)
Defendant opposes the motion.3 The United States of America filed




2 (Pl. Mot. for Injunction and Turnover ("Pl. Mot."), dated Apr.
22, 2024 [dkt. no. 555]; Pl. Mem. in Support of Mot. ("Pl. Mem."),
dated Apr. 22, 2024 [dkt. no. 556]; Four to Expert Report of John
C. Coffee, Jr. ("Coffee 4"), dated Apr. 22, 2024 [dkt. no. 557];
Second Expert Report of Nancy C. Lissemore ("Lissemore 2"), dated
Apr. 22, 2024 [dkt. no. 558]; Decl. of Randy M. Mastro ("Mastro
Decl. 1"), dated Apr. 22, 2024 [dkt. no. 5591; Pl. Reply, dated
May 30, 2024 [dkt. no. 587]; Decl. of Alberto B. Bianchi, dated
May 30, 2024 [dkt. no. 588]; Decl. of Dr. Alfredo L. Rovira, dated
May 30, 2024 [dkt. no. 589]; Fifth Expert Report of John C. Coffee,
Jr., dated May 30, 2024 [dkt. no. 590]; Decl. of Randy M. Mastro
 ("Mastro Decl. 2"), dated May 30, 2024 [dkt. no. 591]; Pl. Sur-
Reply, dated July 8, 2024 [dkt. no. 598]; Pl. Letter, dated Aug.
27, 2024 [dkt. no. 647].)
3 (Def. Opp'n to Pl. Mot. ("Def. Opp'n"), dated May 16, 2024 [dkt.

no. 577]; Decl. of Robert J. Giuffra Jr. ("Giuffra Decl."), dated
May 16, 2024 [dkt. no. 578]; Expert Decl. of Raf ael M. Manovil,
dated May 16, 2024 [dkt. no. 579]; Expert Report of Alfonso
Santiago ("Santiago"), dated May 16, 2024 [dkt. no. 580]; Third
Report of Professor Steven Davidoff Solomon, dated May 16, 2024
[dkt. no. 581]; Def. Sur-Reply, dated June 27, 2024 [dkt. no. 597];
Def. Letter, dated Aug. 26, 2024 [dkt. no. 639].)

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a statement      of interest.45     For the reasons set for to below,
Plaintiffs' motion is GRANTED
    1.     Background
         The Court assumes f amiliarity with the f actual background and
procedural history of the case, which have been set out at length
in prior opinions of this Court and the Court of Appeals                     The
Court recounts only the f acts necessary to determine the instant
motion
           a. Factual Background
         Prior to 1993, YPF, a petroleum company, was wholly owned and
operated by the Republic          Petersen Energize Inversora, S.A.U V
Argentine Republic et al. ("Petersen II"), 15 Civ. 2739 (LAP), 16
Civ. 8569 (LAp), 2023 WL 2746022, at *2 (s.D.n.y. Mar. 31, 2023)
         In 1993, the Republic decided to privatize YPF through a
worldwide IPO of its shares           Id.    The Republic acted "in its
capacity as shareholder of [YPF]" to amend YPF's bylaws to include
protections for investors          Petersen Energize Inversora S.A.U         V

Argentine Republic et al        ("Petersen IHll I 895 F.3d 194 I 199 (2d



4  (U.S. Statement of Interest, dated Nov. 6, 2024 [dkt. no. 679]                9
                                                                                 r

Pl. Response to U.s. St., dated Nov. 14, 2024 [dkt. no. 684].)
5 The par ties and the United States filed supplemental briefs

regarding the impact of the Court of Appeals' decision in Peterson
v. Bank Markazi, 121 F.4th 983 (2d Cir. 2024) on this motion. (See
dkt. nos. 695-96, 698, 702, 708, 710.) The parties and the United
States agree that the decision has no impact on the Cour t's
determination of this motion.

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Cir. 2018)         Notably, the amended bylaws included, inter alia,
Section 7, the tender offer provisions            Id. at 199-200
      In the Republic's efforts to privatize YPF, the Republic
specifically targeted its IPO at United States investors                      The
Republic sponsored an ADR program listed on the New York Stock
Exchange      (\\NYSE// )   for YPF's Class D shares with BNYM as the
depository bank, and it registered both YPF's Class D shares and
its ADRs representing interests in those shares with the United
States Securities and Exchange Commission ("SEC")                (Lissemore 2
33 23-25.)       See also Petersen I, 895 F.3d at 199            The Republic
"raised billions of dollars in investment capital with the largest
share (more than $1.1 billion in total) coming from the sale of
ADds [American Depositary Receipt ("ADR") ] in the United States on
the NYSE II      Id. at 200      Rep sol S.A. ("Rep sol") emerged from the
IPO as YPF's majority shareholder. Id.             The Republic remained a
holder of YPF's Class A shares          Id.   After the IPO, YPF's shares,
via the ADRs, were traded publicly on the NYSE and other exchanges
Id.
      On April 16, 2012, the Republic "exercised indirect control"
of Rep sol's 51% of YPF's Class D shares, specifically the right to
"use its shares to govern the company," "direct corporate policy, II
or "otherwise exercise all the considerable power of a majority
shareholder. II       Petersen Energize Inversora, S.A.U. v. Argentine



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Republic et al. ("Petersen III"), 15 Civ. 2739 (LAP), 16 Civ. 8569
(LAp), 2023 WL 5827596, at *1 (s.D.n.y. Sept. 8, 2023>
         On May        3, 2012, the Republic enacted Law 26,741 (the "YPF
Expropriation Law"), which became effective on May 7, 2012, id. at
*3, and "was intended to escape the obligation to pay the tender
offer," id. at *4                    Article 15 of the YPF Expropriation Law states
that YPF "shall continue to operate as [al publicly traded
corporation[] II                   (Giuffra Decl. EX. 1.)      Article 16 requires the
Republic to execute the Shares pursuant to various principles,
including in a manner "safeguarding shareholder interest and
generating value on their behalf II                    (Id.)     Additionally, Article
10 states that the Republics expropriation of the Shares from
Rep sol is conducted for the "public interest" and prohibits "any
future transfer of the shares without permission of the National
Congress by a two-thirds vote of its members.".6                        (Id.; dkt. no
470-7 Articles 4-5 (Expropriation must include a declaration of
p u b l i c u t i l i t y. ) . )
         By expropriating Rep sol's 51% of YPF's Class D shares, the
Republic breached Sections 7 and 28 of YPF's bylaws because it
never made a tender offer for Plaintiffs' shares                         Petersen II,
2023 WL 2746022 I at *8-11


6                not opine on whether this law applies (a) to
    The Court does
voluntary transfers only or (b) to voluntary transfers and
transfers made necessary by a court order.                       (Pl. Reply at 2; Def.
Sur-Reply at 4.)

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      Case 1:188863-839EKp07/.6%@u0m28hP¥I8""Y¢iF8d'08738&38 °g8ge 6 of 33




      As a result of the expropriation, the Republic holds 51% of
YPF's Class D shares,7 which are oncer tificated securities held in
book-entry form 8 in an account at Caja de Valor's, S.A. ("CdV") I
the central securities depository of Argentina                  (Mastro Decl. 1
EX.   1 at 101.)        The Republic holds the shares at CdV directly,
rather    than     in    "street   name II      through   a   broker   or   other
intermediary.      (Dkt. no. 45-2 at ECF 4; see also Pl. Mem. at 17.)
When book-entry shares are transferred from one owner to another,
no physical transfer occurs; instead, the transfer is noted in the
registry.        (Mastro Decl      1   Ex       14 at 32 (" I f securities are
dematerialized: May dematerialized security positions be                      re-

certificated and held outside the CSD? No.").)


7 The Republic argues that the Court cannot transfer 49% of the
Shares because the YPF Expropriation Law "designates 49% of the
[shares] to Argentine Provinces that are par t of OFEPH1." (Def.
Opp'n at 7.) The provinces' contingent interest in the Republic's
shares, which will ripen into an actual interest only if the
Republic decides to transfer the Shares, is not itself subject to
attachment and cannot prevent transfer of the Republic's interest.
See, e.g., Matter of Supreme Merch. Co. v. Chem. Bank, 70 N.Y.2d
344, 350 (1987) (CPLR § 5201 "preclude [s] a levy against contingent
obligations not certain to ripen into something real.") .
Additionally, YPF's Form 20-F for the year ended December 31, 2023
confirms that the "Argentine National State" owns 200.6 million
Class D shares of YPF (51% of the total) I while the "Argentine
provincial governments" own 7,624 Class B shares (which Plaintiffs
do not seek to execute upon). (Mastro Decl. 2 EX. 3 at 90.)
8 Section 7(a) of YPF's bylaws states that its shares "shall not

be represented by cer tificates. Instead, they shall be book-entry
shares and shall be recorded in accounts kept under their holder's
names in the Corporation, commercial banks, investment banks or
securities clearing houses as authorized by the Board of
Directors." (Dkt. no. 45-2 at ECF 4.)

                                            6
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     Since    April 2012, the Republic has controlled YPF's major
business and financial decisions through its majority share of the
company.     The par ties agree that the Republic votes to elect the
Board and to approve initiatives generally proposed by the Board,
including those that require shareholder approval under the
Republic's laws      (Pl. Mem. at 3, 12-13; Def. Opp'n at 6.)
     Additionally, as disclosed in YPF's Form 20-F for the year
ended   December    31I   2013    "The    Argentine federal      government

controls the Company, and consequently, the federal government is
able to determine substantially all matters requiring approval by
a majority of our shareholders, including the election of a
majority of our directors, and is able to direct our operations II
(Mastro Decl. 1 EX. 6 at 10 • ) As disclosed in YPF's Form 20-F for
the year ended December 31, 2022      •




                                      •




     The Argentine Republic owns 51% of the shares of YPF S.A.
     and, consequently, the Argentine government is able to decide
     all matters requiring approval by a majority of
     shareholders[.] . . . We cannot assure you that decisions
     taken by our controlling shareholder would not differ from
     your interests as a shareholder.
(Id. EX. 1 at 6.)
     More recently, YPF continues to tap into the United States'
markets by: (i) sponsoring the ADR program for its Class D shares
with BNYM and listing the shares on the NYSE, which requires
maintaining the registration of its Class D shares and ADSs with
the SEC; and (ii) offering bonds on the debt capital markets


                                     7
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(Lissemore 2 33 27-29; Coffee 4 3 11-18; Mastro Decl. 1 EXS. 11-
12 • )

    II •    Applicable Law
         Federal Rule of Civ il Procedure 69(a) (1) provides that the
"procedure on execution" and "proceedings supplementary to and in
aid of judgment or execution" enforcing a money judgment "must
accord with the procedure of the state where the court is located. II
See, e.g., A l l . Bond Fund, In c . v. Grupo Mexicano De Desarrollo,

S.A., 190 F.3d 16, 20 (2d Cir. 1999)               In New York, NY CPLR § 5201
establishes what proper ty is subject to enforcement and who the
proper garnishee is.9 NY CPLR § 5225 provides the mechanism for
courts to order the payment or delivery of the proper ty.                           In

addition, the Foreign Sovereign Immunities Act ("FSIA"), 28 U S C
§ 1610(a), addresses enforcement against a foreign sovereign
             a. NY CPLR § 5201

         NY CPLR § 5201(b) states that judgments are only enforceable
"against any proper ty which could be assigned or transferred. II
New York law controls whether shares in a foreign corporation
"could be assigned or transferred" under NY CPLR § 5201(b)                        See,

e.g., 245 Park Member LLC V. HNA Grp. (Int'l) Co. Ltd., No. 23-
842-CV, 2024 WL 1506798, at *3 (2d Cir. Apr. 8, 2024) (New York


9 A "garnishee" is a person who owes a debt to a judgment debtor,
or a person other than the judgment debtor who has proper ty in his
possession or custody in which a judgment debtor has an interest.
N.Y. C.P.L.R. § 105(i).

                                           8
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law controls whether membership interest              in Delaware     LLC        is
assignable and transferable); Hotel 71 Mezz Lender LLC v. Falor,
14 n.y.3d 303, 314 (2010) (same)          And, under New York law, shares

in a company are freely transferable and assignable               See, e g   •   ' f



Koehler v. Bank of Berm. Ltd., 12 N.Y.3d 533, 541 (2009)
     NY CPLR § 5201(c),      titled "proper garnishee for par ticular
proper ty or debt," outlines who the proper garnishee is for certain
proper ty. NY CPLR § 5201(c)(4) states that
     where proper ty . . . is evidenced by a . . . negotiable
     document of title or a certificate of stock of an association
     or corporation, the . . . document or certificate shall be
     treated as property capable of delivery and the person holding
     it shall be the garnishee.
It further states,
     except that section 8-112 of the uniform commercial code shall
     govern the extent to which and the means by which any interest
     in a certificated security, oncer tificated security or
     security entitlement (as defined in article eight of the
     uniform commercial code) may be reached by garnishment,
     attachment or other legal process.w




10 Defendant   argues that NY UCC § 8-110(a) (5) provides that the
"local law of the issuer's jurisdiction," here Argentine law,
"governs . . . whether an adverse claim can be asserted against a
person to whom transfer of a[n] . . . oncer tificated security is
registered or a person who obtains control of the oncer tificated
security." (Def. Opp'n at 26 (emphasis added) .) The Court is
unpersuaded because Plaintiffs do not asset t an "adverse claim" to
the Shares; on the contrary, Plaintiffs acknowledge that the
Republic validly owns the Shares, which is why Plaintiffs argue
that they should be subject to execution governed by New York law
and the FSIA.    F.R.C.P. 69(a) (1) (New York law governs execution
procedure here) .

                                      9
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      The     Republic's       Shares        qualify     as     "u certificated
security[ies]" under the UCC because they exist only in book-entry
form. 11    Under NY UCC § 8-112, Plaintiffs may reach Defendant's
ulcer tificated securities by (1) legal process upon the issuer at
its chief executive office in the United States, (§ 8-112(b)); (2)
legal process upon the secured party, (§ 8-112(d));12 or (3) "aid
from a court of competent jurisdiction, by injunction or otherwise,
in reaching the certificated security, ulcer tificated security, or
security entitlement or in satisfying the claim by means allowed
at law or in equity in regard to proper ty that cannot readily be
reached by other legal process," (§ 8-112(e))




II NY UCC § 8-102(18) defines "oncer tificated security" as "a
security that is not represented by a cer tificate." The term
"security entitlement" refers to the rights and property interest
of a person who holds securities indirectly through a broker or
other securities intermediary. See N.Y. U.c.c. § 8-102(7), (17).
The Shares are not "security entitlement [s]" because they are
registered to the Republic and not held in street name. N.Y.
U.c.c. § 8-102(7), (17); see also N.Y. U.c.c. § 8-501(d) ("If a
securities intermediary holds a financial asset for another
person, and the financial asset is registered in the name of
... the other person, and has not been indorsed to the securities
intermediary or in blank, the other person is treated as holding
the financial asset directly rather than as having a security
entitlement with respect to the financial asset.") .
12 Because the Republic holds the Shares directly through CdV, as
opposed to in street name through a broker or other intermediary,
they are "uncertificated security[ies] registered in the name of a
secured party." N.Y. U.c.c. § 8-112(d).

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              b. NY CPLR § 522513
         NY    CPLR   § 5225(a)     sets for to      New   York's procedure for
enforcement of money judgments against property in the possession
or custody of the judgment debtor.               See, e.g., Koehler, 12 N.Y.3d

at 537-38         It provides that
         where it is shown that the judgment debtor is in possession
         or custody of money or other personal proper ty in which he
         has an interest, the court shall order that the judgment
         debtor pay the money, or so much of it as is sufficient to
         satisfy the judgment, to the judgment creditor. . . .
N.Y. C.P.L.R. § 5225(a)                NY CPLR § 5225(b) applies when the
property is not in the judgment debtor's possession                      Koehler, 12
N.Y.3d at 541          It provides that the Court may order a third-par ty
garnishee to turn over the proper to - but only "upon a special
proceeding" commenced against that garnishee                          NY      C.P.L.R.
§ 5225(b)
         Under either NY CPLR '§§ 5225(a) or (b) , control is not enough
the      judgment debtor (§ 5225(3)) or a third-party garnishee
(§ 5225(b)) must have "possession or custody." Commonwealth of N
Mariana Islands v. Canadian Imperial Bank of Com., 990 N.E.2d 114 I
115 (n.y. 2013) (under NY CPLR § 5225(b) third-par ty garnishee




13 TheRepublic argues that NY CPLR § 5225 applies only to a
"person," which does not include sovereigns. (Def. Opp'n at 28 n.
l5.)    However, the Court finds that § 5225 must apply to
sovereigns, at least where the sovereign owes a commercial debt
and is being asked to pay that debt with commercial assets.

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"must have actual, not merely constructive, possession or custody
of the assets")
     Additionally, NY CPLR § 5225(c) provides that "[t]he court
may order any person to execute and deliver any documents necessary
to effect payment or delivery. II
     Turnover orders pursuant to NY CPLR § 5225 are effective
against assets regardless of their location if the Court has
personal jurisdiction over the judgment debtor or the third-party
garnishee      In Koehler, the New York Court of Appeals expressly
addressed funds held outside of New York, holding that "CPLR
article 52 contains no express territorial limitation barring the
entry of a turnover order that requires                              [the transfer of]
money or proper ty into New York from another state or country. II
12 N.Y.3d at 539,                541 (" [A]        New   York   court   with personal
jurisdiction over a defendant may order him to turn over out-of-
state property.      •   •   •   ")   9
                                      y   see also Motorola Credit Corp. v. Uzan,
739 F. supp- 2d 636, 641 (S.D.N.Y. 2010) (same); In re Gaming
Lottery Sec. Litig., No. 96 Civ. 5567 (RPP), 2001 WL 123807, at *3
(s.D.n.y. Feb. 13 I 2001) (noting that the Court "has the power
under CPLR § 5225(a) to order a turnover of funds held in another
jurisdiction" and ordering the turnover of funds "in an account at
the Royal Bank of Scotland")                  9
                                              r    In re Felt    &   Drexler, Inc. v
Drexler, 760 F.2d 406, 414 (2d Cir. 1985) (holding that the
district cour t, sitting in bankruptcy, had the power to compel the

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defendant to deliver proper ty from outside the cour t's territorial
jurisdiction because the court had personal jurisdiction over the
defendant); Miller V. Doniger, 814 N.Y.S.2d 141 (2006) (affirming
order directing the judgment debtor to "turn over his out-of-State
Wachovia account") r      9
                              Starbare I I Par tiers L.P.            V    Sloan, 629
N.Y.S.2d 23 (1995) (directing the defendant to turn over artwork
located outside the state pursuant to NY CPLR 5225(a))
       In Bainbridge Fund Ltd. v. Republic of Argentina, this Court
found that it has the power to order a sovereign to bring assets
held in that sovereign country's central bank and deliver them to
New York       690 F. Supp. ad 411, 421-22 (S.D.N.Y. 2023)                   "The FSIA
          does not supersede CPLR 5225 and prevent the Court from
ordering the Republic, a judgment debtor over which it has personal
jurisdiction, to bring assets from outside of New York into New
York to pay [Plaintiff] II            Id. at 416        The Court further stated
that "[t]he execution immunity provision of the FSIA is no bar
because by its plain terms i t                  'immunizes only foreign-state
proper ty 'in the United States I I I I                Id. (citation omitted)
Additionally, the Court determined that the "more prudent course"
is to evaluate whether the assets are subject to execution immunity
before ordering that they be brought to the United States                       Id. at
417




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        c. Foreign Sovereign Immunities Act, 28 U.S.C. § 1610(a)
     Under the FSIA,
     [t]he property in the United States of a foreign state . . .
     used for a commercial activity in the United States, shall
     not be immune from attachment in aid of execution, or from
     execution, upon a judgment entered by a court of the United
     States or of a State after the effective date of this Act, if
     . . . the property is or was used for the commercial activity
     upon which the claim is based. . . .
28 U.s.c. § 1610(a)(2)          Accordingly, to be amenable to execution
under this section, proper ty of a foreign state must satisfy three
requirements: (1) it must be "in the United States , H (2) it must r



be "used for a commercial activity in the United States , H and (3)      r



it must be (or have been) "used for the commercial activity upon
which the claim is based. II          Id.     In other words, the sovereign




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must use the proper ty but may do so anywhere, 14 and the activity
must occur in the United States but may be conducted by anyone. 15
       Plaintiffs have the initial burden of production to show that
an exception to foreign sovereign immunity under the FSIA applies
Beierwaltes v. L'Office Federate de la Culture de la Confederation
Suisse     (Fed. Office of Culture of the Swiss Confederation), 999
F.3d 808, 816-17 (2d Cir. 2021); see also Bainbridge Fund Ltd.,
690 F. Supp. 3d at 419. Defendant then bears the burden of proving,
by a preponderance of the evidence, that the alleged exception
does not apply. Id.
     III. Discussion
       The Republic opposes the entry of the proposed order by
arguing, inter alia, that (1) the Shares are immune from turnover

14   The Republic argues that the statute requires that the "use"
occur in the United States, as opposed to requiring that the
commercial activity occur in the United States. (Def. Opp'n at
13-17.) The Court disagrees. What matters is not where the Shares
were used, but where the resulting commercial activity takes place .
Exp.-Imp. Bank of the Republic of China V. Grenada, 768 F.3d 75,
89-91 (2d Cir. 2014) (declining to attach funds "because they are
not used by the Statutory Corporations for commercial activity
that takes place in the United States" (emphasis added)); Attestor
Master Value Fund LP v. Argentina, 113 F.4th 220, 233 (2d Cir.
2024) (the FSTA required that "the commercial activity in which
Argentina used [the proper ty] took place at least in par t in the
United States." (emphasis added) ) . But see Aurelius Cap. Par triers,
LP v. Republic of Argentina, No. 07 Civ. 11327 (TPG), 2010 WL
768874, at *4 (S.D.N.Y. Mar. 5, 2010) ("even if the proper ty is
being used for commercial activity, this use is not occurring in
the United States").
15 The Republic argues that the commercial activity must be carried
out by the foreign state. (Def. Opp'n at 17.) However, that
requirement is not found in the statute.                  (Pl. Reply at 10.)

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under the FSIA,         (see   infra Sections III a            and   III.c.);        (2)

Plaintiffs have not shown that the assets are subject to turnover
under New York          law,    (see    infra    Section      III.b.);      and      (3)
international comity counsels against turnover, (see infra Section
III.d.). The Court addresses each argument in turn
        a. Whether the Shares are Immune from Execution under the
            FSIA

     Because the Court determined in Bainbridge that the "more
prudent course" is to "evaluate whether the assets are otherwise
subject to execution immunity before ordering that they be brought
to the United States," 690 F. Supp. 3d at 417, the Court first
turns to whether two elements of an exception under the FSIA are
met: (i) the Shares must be "used for a commercial activity in the
United States , H and (ii) it must be (or have been) "used for the
                 r



commercial activity upon which the claim is based. II                     28 U S C
§ 1610(a)(2)
                i . Whether the Shares are "Used for a Commercial
                     Activity in the United States"
     To satisfy this element, the Republic must "actively utilize
[the Shares] in service of that commercial activity [in the United
States] " Exp.-Imp. Bank of the Republic of China v. Grenada, 768
F.3d 75,   90   (2d Cir. 2014); see also id . at 89 ("                      when the
proper ty in question is put into action, put into service, availed
or employed for a commercial activity                    ")




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     The    Republic does not dispute that              YPF   sponsoring an ADR
program for its Class D shares with BNYM in New York, listing its
shares on the NYSE, registering               its shares with the SEC, and
selling its debt to United States institutional investors under
SEC Rule 144A, all constitute "commercial activity in the United
States II    (Def. Opp'n at 24.)         See, e.g., EM Ltd. v. Republic of
Argentina, 389 F. App'x 38 I             44 (2d Cir.        2010)    (f facilitating
investment and sale of securities is "commercial activity" under
the FSIA); Republic of Argentina v. Welt over, Inc ., 504 U.S. 607,
615-17 (1992) (issuing bonds is commercial activity) . The question
for the Cour t's consideration is whether the Republic used its
Shares "for      [the] commercial activity in the United States II
28 U S C    § 1610 (a)

     In     Crystal lex     Int'l    Corp      V     Bolivarian       Republ i C     of
Venezuela, 932 F.3d 126, 152 (3d Cir. 2019), the Third Circuit
affirmed attachment of Petréleos de Venezuela, S.A.'s ("PDVSA")
(Venezuela's state oil company and its alter ego) controlling
shares in PDV Holding, Inc              ("PDVHN )    (a separate entity whose
corporate veil was not pierced)               The Court observed that PDVSA
used i t s shares in      PDVH    "to run i t s business as an owner, to
appoint directors, approve contracts, and to pledge PDVH's debts
for its own short-term debt II Id. at 151                Accordingly, the Court
held that PDVSA used its shares in PDVH for a commercial activity
in the United States by directing the activities of PDVH in the

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United States and thus the PDVH shares were subject to execution
under § 1610(a)       Id. at 151-52; see also Foremost-McKesson, Inc
v. Islamic Republic of Iran, 905 F.2d 438, 450 (D.C. Cir. 1990)
(holding that Iran engaged in commercial activity when it "used
its majority position" in a dairy company "to lock Foremost out of
the management of the company and deny Foremost its share of the
company's earnings ")         Similarly, in In re 650 Fifth Ave. Co • r
No. 08 Civ. 10934 (KBF), 2014 WL 1284494 (s.D.n.y. Mar. 28, 2014) I
vacated and remanded sub nom. Kirschenbaum v . 650 F i f t h Ave.                &

Related Props • r 830 F. 3d 107 (2d Cir. 2016),               and vacated and

remanded, 830 F.3d 66 (2d Cir. 2016), the Court held that Iranian
front companies "used" par ownership shares in a real estate company
for commercial activity in the United States, because                    (i) the
company owned a building in New York that generated revenue; and
(ii) the shares "were the mechanism through which the par triers
owned the Building and determined the distribution of revenue that
it produced. II   Id. at *17 16       Accordingly, a foreign sovereign's
use of its controlling shares to direct a company's commercial
activity in the United States satisfies the FSIA requirement that
the shares be "used for a commercial activity in the United
States II


16 On appeal, the Court of Appeals vacated the district cour t's
prior alter ego finding and therefore the Court of Appeals did not
address the district cour t's FSIA analysis. Kirschenbaum v. 650
Fifth Ave. Co., 830 F.3d 107 (2d Cir. 2016).

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      Each    year   YPF   advises United States investors that the
Republic exercises a high degree of control over YPF. 17                            Since
April 2012, the Republic has controlled YPF's major business and
financial decisions through its majority share ownership and
generated value for the company through use of the United States'
markets       The par ties agree that the Republic votes to elect the
Board and to approve initiatives generally proposed by the Board,
including those that require shareholder approval under the
Republic's laws        like    international debt          is s u a n c e s   and     the
delisting of its shares from the NYSE.18               (Dkt. no. 45-2 at 21-24
'§§ 17(vi);   Pl. Mem. at 3, 11-13; Def. Opp'n at 6.)                   For example,
at an annual shareholder meeting held on April 29, 2016, the
Republic voted to approve an increase in the amount of YPF's Global
Medium-Term Notes Program from $2.0 billion to $10.0 billion


W As disclosed in YPF's Form 20-F for the year ended December 31,
2013: "The Argentine federal government controls the Company, and
consequently, the federal government is able to determine
substantially all matters requiring approval by a majority of our
shareholders, including the election of a majority of our
directors, and is able to direct our operations." (Mastro Decl.
l Ex. 6 at 10.) As disclosed in YPF's Form 20-F for the year ended
December 31, 2022: "The Argentine Republic owns 51% of the shares
of YPF S.A. and, consequently, the Argentine government is able to
decide all matters requiring approval by a majority of
shareholders[.] . . . We cannot assure you that decisions taken by
our controlling shareholder would not differ from your interests
as a shareholder." (Id. EX. 1 at 6.)
18   The Court does not address whether             all of YPF's commercial
activity in the United States is attributable to the Republic
merely because the Republic holds a majority share in YPF; instead,
the Court focuses on the commercial activity in the United States
that the parties agree requires the Republic's direct approval.

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(Coffee   4   91   29; Mastro Decl. 1 EX. 1 at 74.)          Similarly, at a
meeting held on April 28, 2023, the Republic granted the Board of
Directors the authority "to create Global Programs for the issuance
of negotiable obligations II         (Mastro Decl. 1 Ex.        7   at 26-27.)
Since April 2012, YPF has sold more than $2.4 billion in debt just
to United States investors           (Coffee 4 91 14 • )    Accordingly, the
Republic's use of its controlling shares to direct YPF's commercial
activity in the United States is sufficient to establish that the
Shares are "used for a commercial activity in the United States II
              i i . Whether the Shares Are or Were "Used for the
                     Commercial Activity Upon Which the Claim is Based"
     For purposes of § 1610(a) (2) of the FSIA, a claim is "'based
upon' the 'particular conduct' that constitutes the 'gravamen' of
the suit II        Petersen I , 895 F.3d at 204 (citation omitted);            De

Atelier v. Republic of Chile, 748 F.2d 790, 796 (2d Cir. 1984)
("Congress specifically designed the execution immunity rules to
'conform' to the jurisdictional immunity provisions of § 1605 II
(citation omitted) )        In cases "involving breach of contract or
related equitable claims, courts routinely identify the breach (or
formation plus breach) as the gravamen II Friedman v. Gov 't of Abu
Dhabi, United Arab Emirates, 464 F. Supp. 3d 52, 68 (D.D.C. 2020)
(collecting cases and citing Petersen I, 895 F.3d at 207)                  When

there is "nothing [inherently] wrongful" about the formation of
the contract, the "commercial activity" analysis for FSIA purposes


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turns on the "gravamen" of the "alleged breach" serving as the
"foundation"        of    the   suit,    not     the    act   of   formation            MMA

Consultants 1, Inc. v. Republic of Peru, 719 F. App'x 47, 52 (2d
Cir.     2017)     (rejecting commercial activity analysis                   based on

formation)               Because    Plaintiffs         have   identified       "nothing
inherently wrongful" about the formation of the YPF bylaws, the
Court need not determine whether the Shares were used in the
formation of the YPF bylaws at issue                   Id.
        The Court of Appeals held that "the gravamen of Petersen's
claim is that Argentina denied Petersen the benefit of the bargain
promised by YPF's bylaws when Argentina repudiated its obligation
to tender for Petersen's [YPF] shares II                  Petersen I , 895 F.3d at

207       The Court of Appeals also held that the Republic's actions
were commercial in nature                Id. ("To [Q tender-offer] obligation
and Argentina's subsequent repudiation of it were indisputably
commercial ")
        Although "the tender obligation is not attached to the shares
that the Republic acquired," the Republic used its control of
Rep sol's shares to effectuate the breach of the tender offer
obligation because that control ensured that (1) the bylaws would
never be enforced and (2) the Republic holds the Shares today.
The fundamental promise of the tender offer provisions of the YPF
bylaws was that investors would not be stranded as minority
shareholders in a government-run enterprise without being offered

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a compensated exit            See   Petersen II, 2023 WL 2746022, a t *12
("[T]he Republic promised security holders that it would provide
them with a compensated exit if it reacquired control over the
requisite number of shares.")              The Republic used its control of
Rep sol's shares to "displace]" the Rep sol-elected Board and
render it "devoid of any powers, functions, or duties II                 Petersen
III, 2023 WL 5827596, at *1            The Republic "appropriated the rights
of   the Board to          itself, and used those rights to cancel the
shareholder meeting" scheduled for April 25, 2012                     Id. a t *2
That cancellation "ensure[d] that Rep sol would have no ability to
vote   its   shares," id . a t *1, including to enforce the bylaws'

tender    offer     obligation,        (see dkt    no   45-2 at     30 § 28(C)
(requiring YPF to withhold the Republic's right to vote if                        it
acquired a controlling stake and declined to make a tender offer) )
       Moreover, following the enactment of the YPF Expropriation
Laws, the Republic continued to use the Rep sol shares to breach
its obligations-using the shares to vote at shareholder meetings,
appoint a new Board, run the company, and evade the tender offer
requirement         Petersen II, 2023 WL 2746022, at *3            As this Court
previously recognized, the YPF Expropriation Law "was intended to
escape the obligation to pay the tender offer. II                 Petersen III,
2023 WL 5827596, at *4                 The Republic invoked its "political
rights" in the Rep sol shares a t the June 4, 2012 shareholders'
meeting      f or    the     express     purpose   of    overruling minority

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shareholders' objection that YPF f ailed to invoke Sections 7(h)
and 28 of the bylaws                (Dot     no    112-4 at 7-8.)           Thus I    by
controlling Rep sol's shares I             the Republ i C stranded minority
shareholders in a government-run enterprise - the precise outcome
against which the bylaws were designed to protect and therefore
the crux of the Republic's breach                 Accordingly, the facts - (1)
that the Republic's breach of its tender offer obligation was
indisputably par t of the gravamen of Plaintiffs' claims and (2)
that the Republic used the Shares to effectuate that breach - are
sufficient to establish that               the    Shares    were    "used for the
commercial activity upon which the claim is based. II
         b. Whether the Shares are Immune from Turnover Under New
             York Law

      Because the Shares are "used for a commercial activity in the
United States" and "used for the commercial activity upon which
the claim is based," and therefore are not otherwise subject to
execution immunity, the Court now analyzes whether the Shares are
subject to turnover under New York law                  28 U.S.C. § 1610(a) (2);
Bainbridge, 690 F. Supp. 3d at 417
               i . Whether the Shares Can be Transferred under NY CPLR
                   § 5225
      Under New York law, the Court must first determine if the
proper ty is subject to enforcement and who the proper garnishee
is    N.Y. C.P.L.R. § 5201             Under NY CPLR § 5201(b), the Shares
"could be assigned or transferred," regardless of Article 10 of

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the    YPF   Expropriation        Law' S   restriction,       (see    infra Section
IIIC)         Since May 21, 2014, each "Constancia de Acciones" (Proof
of Shares) issued by            CdV    confirms that the Shares are fully
transferable, without any restriction                    (Mastro Decl.      2   Ex. 1.)
Additionally, as recently as May 2024, the Milli administration
has reaffirmed its intention to reprivatize YPF, a process that
would necessarily involve the transfer of the Shares                            (Mastro
Decl. 2 EX. 4 at 4.)
       NY CPLR § 5201(c) outlines who the proper garnishee is for
"particular property. II              Given the     Shares     are    ulcer tificated
securities, they f all within the category of "par ticular proper ty"
and thus lead the Court to the conclusion that
       the person holding [the Shares] shall be the garnishee; except
       that section 8-112 of the uniform commercial code shall govern
       the extent to which and the means by which any interest in a
       certificated security, oncer tificated security or security
       entitlement (as defined in article eight of the uniform
       commercial code) may be reached by garnishment, attachment or
       other legal process.
N.Y. C.P.L.R. § 5201 (c) (4)            Under NY UCC § 8-112, Plaintiffs may
reach the Shares by (1) legal process upon the issuer at its chief
executive office in the United States (§ 8-112 (b)); (2) legal
process upon the secured par ty (§ 8-112 (d)); or (3) "aid from a
court of competent jurisdiction, by injunction or otherwise, in
reaching the certificated security, ulcer tificated security, or
security entitlement or in satisfying the claim by means allowed
at law or in equity in regard to proper ty that cannot readily be

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reached by other legal process" ('§ 8-112 (e))                     While control is
not enough to prove "possession or custody" under federal common
law, the statutes (NY CPLR § 5201(c) and NY UCC § 8-112(d)) aid
the Court in identifying who is in "possession or custody" and
therefore appropriate to bring the proceedings against under NY
CPLR § 5225         Commonwealth of N. Mariana Islands I 990 N.E.2d at
115      Because NY UCC § 8-112(d) states that the Shares can be

reached by legal process upon the secured party, here I                                the
Republic, this aids the Court in concluding that the Republic
"holds" or has "possession or custody" of the Shares for purposes
of    applying      NY    CPLR    §    5225(3)          Accordingly, Plaintiffs
appropriately moved for turnover under New York law.
               i i . Whether the Shares are Immune from Turnover by
                     Being Outside the United States
       Regarding whether the Shares are immune from turnover by
virtue of being outside of the United States, the Court previously
ruled on this exact issue in Bainbridge, 690 F. Supp. 3d at 416
Here, the Court similarly holds that the FSIA does not supersede
NY CPLR § 5225 and prevent the Court from ordering the Republic,
a judgment debtor over which it has personal jurisdiction, to bring
the Shares from outside of                New York       into New York to pay
Plaintiffs




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       c. Whether the Shares Qualify as "in the United States"
           under Section 1610 (a) of the FSIA Once Transferred
     The Court must determine whether the Shares would qualify as
proper ty of the Republic "in the United States" under Section
1610(a) of the FSIA after the Court orders the Republic to take
the following two steps          (i) transfer for thwith the Shares to a
global custody account at BNYM in New York for turnover to
Plaintiffs; and (ii) instruct BNYM to transfer the Republic's
ownership interests        in    the Shares to           Plaintiffs      or    their
designees.19
     A global custody account is an account that indirectly holds
foreign securities on behalf of an investor. More specifically,
a global custody account (BNYM in New York) maintains a network of
local sub-custodians in foreign markets, and each sub-custodian in
turn is a member of the central securities depositary in its own
market (Argentina)         (Mastro Decl. 1 EX. 15, ii-iv; Mastro Decl



19 The Republic asset is that there is "no evidence that such an
account could be created by BNYM, which presumably would have to
satisfy its own due diligence before doing so." (Def. Opp'n at
12.) BNYM historically had contractual relationships with both
the Republic (for which it serves as trustee and paying agent on
sovereign debt issuances) and YPF (for which it maintains the ADR
program and serves as depositary) . While the Republic may not
have an existing global custody account with BNYM, NY CPLR
§ 5225(c) requires that the Republic will execute and deliver any
documents necessary to set up such an account. Gryphon Domestic
vi, LLC v. APP Int'l Fin. Co., 8.v., 814 N.Y.S.2d 4, 14 (2007)
(ordering judgment-debtor under NY CPLR § 5225(c) to "execute
appropriate documents" to transfer shares in foreign corporations
to plaintiffs).
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1 EX. 16 • )   Transferring the Shares to a global custody account at
BNYM in New York means that CdV would identify BNYM's sub-custodian
as the beneficial owner, but the Shares would remain in the
register maintained by CdV in Argentina                (Pl. Mem. at 17-18; Def.
Opp'n at 5-6, 12.)       Once the Shares are transferred into a global
custody account at BNYM in New York, the Republic's ownership
interest in the Shares will qualify as security entitlements. N Y
U.C.C. '§§ 8-102(7), (17); N Y           U C C § 8-112 I Official Cmts • r
3     The Republic's security entitlements will have a New York
situs, because the global account will be held at the New York
office of BNYM.        Jpmorgan Chase Bank, N.A. v. Herman, 168 A.3d

514, 521-22 (Conn. App. Ct              2017) (judgment-debtor' S security
entitlement had Connecticut situs under UCC § 8-112 because its
account was with Connecticut office of brokerage firm, even though
securities certificates were held by securities depositary in New
York); EM Ltd. v. Republic of Argentina, 389 F. App'x 38, 43-44
(2d Cir. 2010) (holding that Argentina's beneficial interests in
trust had New York situs and were attachable under FSIA, even
though corpus of trust consisted of ADSs that represented interests
in shares of Argentine corporation)               Accordingly, the Republic's
ownership interest in the Shares will qualify as property "in the
United States," as required by the FSIA after the Court orders the
Republic to take the two proposed steps



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         d. Whether International Comity Counsels Against Granting
            the Proposed Order2°
      The    Republ i C   argues    that international comity counsels
against granting the proposed order. The "fundamental principle
of international comity" is that "a state may not require a person
to do an act in another state that is prohibited by the law of
that state or the law of the state of which he is a national II
Motorola Credit Corp. V. Uzan, 388 F. ad 39 I               60   (2d Cir. 2004)
(citations     omitted)         Additionally, under the act-of-state
doctrine, courts cannot "declare] invalid, and thus ineffective
as a rule of decision,                     the official act of a foreign
sovereign /I Celestine V. Caribbean Air Mail, Inc • r             30   F.4th 133 I
137 (2d Cir. 2022) (internal quotation marks and citation omitted)
The Court previously recognized the expropriation of the Shares as
"a valid act II      Petersen Energize Inversora, S.A.U. v. Argentine
Republic et al., No. 15 Civ. 2739 (LAP), 2016 WL 4735367, at *8
(S.D.N.Y. Sept. 9, 2016), aff'd in part, appeal dismissed in part




20 Prescriptive comity refers to "the respect sovereign nations
afford each other by limiting the reach of their laws." Hartford
Fire Ins. Co. v. California, 509 U.s. 764, 817 (1993).
Prescriptive comity is distinct from "adjudicative comity," which
"asks whether, where a statute might otherwise apply, a court
should nonetheless abstain from exercising jurisdiction in
deference to a foreign nation's courts that might be a more
appropriate forum for adjudicating the matter." In re Picard, Tr.
for Liquidation of Bernard L. Madoff Inv. Sec. LLC, 917 F.3d 85,
100-01 (2d Cir. 2019).

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sub nom. Petersen I ,        895   F.3d.        (See also Pl. Reply at 6; Def.
Opp'n at 9.)
       The Republic argues that Plaintiffs' requested relief would
require the Republic either to change its laws or violate them.21
The Republic points to Article 10 of the YPF Expropriation Law,
which forbids any transfer of the Shares without permission of the
National Congress by two-thirds vote of its members, and the
Permanent Supplementary Budget Law, which provides for payments
only of final judgments
       International comity comes into play only when there is a
true conflict between the law of the United States and that of a

21               not evaluate the par ties' arguments regarding
     The Court does
international comity as it per fains to the analysis of NY CPLR
§ 5225 and the FSTA because the Court relies on its decision in
Bainbridge, 690 F. Supp. 3d at 411. In addition, the FSTA already
reflects Congress's resolution of comity principles in execution
proceedings against a foreign state.        Republic of Austria v.
Altmann, 541 U.s. 677, 699 (2004) (Comity principles in the FSTA
provide a "comprehensive framework for resolving any claim of
sovereign immunity."); accord Dole Food Co. v. Patrickson, 538
U.S. 468, 479 (2003) (The FSTA already grants immunity to foreign
states and their proper ty "as a gesture of comity."); see also
Thai Lao Lignite (Thailand) Co., Ltd. v. Gov 't of Lao People's
Democratic Republic, No. 10 Civ. 5256 (KMW) (DCF), 2013 WL 1703873,
at *7 (S.D.N.Y. Apr. 19, 2013). But see Peterson v. Islamic
Republic of Tran, 876 F.3d 63, 94 & n.23 (2d Cir. 2017), vacated
on other grounds, Clear stream Banking S.A. v. Peterson, 140 s. Ct.
813 (2020) (Comity questions let t open by the FSTA include whether
"a court order will infringe on sovereign interests of a foreign
state."); Republic of Argentina v. NML Cap., Ltd., 573 U.s. 134,
142-46 & nn.4 & 6 (2014) (holding that a comity analysis may be
appropriate when ordering discovery about a foreign state's
assets, because the FSTA has "nothing to say" about that
discovery); Aurelius Cap. Master, Ltd. v. Republic of Argentina,
589 F. App'x 16, 18 (2d Cir. 2014) (same).

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foreign jurisdiction          In re Maxwell Commc'n Corp., 93 F.3d 1036 I
1049    (2d Cir. 1996) ("International comity comes into play only
when there is a 'true conflict' between American law and that of
a foreign jurisdiction/'); Hartford Fire Ins. Co., 509 U.S. at 799
(A "true conflict" exists only if it would be "impossible" for a
party to comply with the laws of both countries )
         There is no unavoidable conflict between Argentine law and
Plaintiffs' requested relief           The Republic has several choices it
can legally pursue          (1)   receive the permission of the National
Congress by two-thirds vote, (2) take action to change the law, or
(3) satisfy the judgment through a separate agreement with
Plaintiffs Courts have enjoined sovereigns to act within their
own    territory where necessary.               SeeI   et
                                                        •   ° r   NML Cap • r Ltd.   V

Republic of Argentina, 699 F.3d 246, 254-55, 263 (2d Cir. 2012)
(affirming injunction requiring Argentina to specifically perform
its obligations under equal treatment provision in bonds)
       Assuming arguendo I        that there is a true conflict between
Plaintiffs'       requested       relief        and    Argentine       laws ,   comity
considerations counsel in favor of granting Plaintiffs' requested
relief      The United States has a strong interest in enforcing its
judgments, and that interest outweighs any putative Argentine
interest in avoiding execution on assets that are fully subject to




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execution under the FSIA. 22 JW Oilfield Equip., LLC v. Commerzbank
AG, 764 F. Supp. 2d 587, 596-98 (S.D.N.Y. 2011) (requiring German
bank to turn over funds in judgment-debtor's account in violation
of German law, based on the United States' "strong interest in
enforcing its judgments")
      Foreign governments cannot simply override the exceptions to
the FSIA by invoking           its    own law to shield          its assets from
execution in the United States                 If comity could supersede the
FSIA and allow foreign law to control which sovereign assets are
subject to execution, every foreign state could render itself
judgment-proof in United States courts just by passing a law
requiring its own approval for any transfer of its proper to. Simon
v. Republic of Hungary, 911 F. ad 1172 I 1180 (D.c. Cir. 2018)


22 Defendants argue that this will put the United States at jeopardy
"given the possibility of reciprocal adverse treatment of the
United States in foreign cour ts." (Def. Opp'n at 9.) See Fed.
Republic of Germany v. Philipp, 592 U.s. 169, 184 (202l) ("W@
interpret the FSIA as we do other statutes affecting international
relations: to avoid, where possible, producing friction in our
relations with [other] nations and leading some to reciprocate by
granting their courts permission to embroil the United States in
expensive and difficult litigation.") (internal quotation marks
and citations omitted) . While it is the Cour t's view that this
concern is addressed in the FSIA requirements, this
"apprehension[] [is] better directed to that branch of government
with authority to amend..." Republic of Argentina, 573 U.S. at
146; see also Turkiye Halk Bankasi A.S. v. United States, 598 U.S.
264, 280 (2023) ("In the context of a civil proceeding, this Court
has recognized that a suit not governed by the FSIA 'may still be
barred by foreign sovereign immunity under the common law."'
 (citations omitted)).

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(rejecting Hungary's          comity-based       argument     that    "would      in
actuality amount to a judicial grant of immunity"), vacated on
other grounds, 141 S. Ct. 691 (2021); De Csepel v. Republic of
Hungary, 27 F.4th 736, 753 (D.C. Cir. 2022) (reaffirming Simon's
rejection of Hungary's comity-based argument on same ground)
      While the Republic demands that this Court extend comity, it
simultaneously refuses to make any effort to honor the Cour t's
unstayed judgment        NML Cap., Ltd. v. Republic of Argentina, 2015
WL   1087488 I    at *7 (S.D.N.Y. Mar. 12I          2015)    ("[I]f Citibank's
predicament is a matter of comity, it is only because the Republic
has refused to observe the judgments of the court to whose
jurisdiction it acceded. Comity does not suggest abrogating those
judgments, or creating exceptions to the Injunction designed to
enforce them."); see also Motorola Credit Corp., 388 F.3d at 60
(declining to grant comity to Turkish injunction prohibiting
turnover of shares because "orders of foreign courts are not
entitled to comity i f the litigants                 who procure       them have
deliberately courted legal impediments to the enforcement of a
federal cour t's orders" (internal quotation marks and citations
omitted))        Comity is not a one-way street
      Accordingly, while the Court need not engage in a comity
analysis, those comity considerations counsel in f aver of granting
the proposed order.



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  IV •   Conclusion
     For the reasons set out above, Plaintiffs' motion is GRANTED
The Republic shall (i) transfer its Class D shares of YPF to a
global custody account at BNYM in New York within 14 days from the
date of this order; and (ii) instruct BNYM to initiate a transfer
of the Republic<:'s ownership interests in its Class D shares of YPF
to Plaintiffs or their designees within one business day of the
date on which the Shares are deposited into the account
     Satisfied that oral argument is not needed in addition to the
papers submitted by the par ties, the Republic's request for oral
argument, (dkt. no. 582) I is DENIED                 Doctor's Assoc • r Inc          v

Distajo, 66 F.3d 438, 448 (2d Cir. 1995); see also Securitynational
Mor to. Co. v. Lehman Bros. Holdings Inc., No. 20 MC 00027 (LAK)
(DF), 2020 WL 9815257, at *1 (s.D.n.y. July 10, 2020)
     The Clerk of the Court is respectfully directed to close dkt
no. 555 in 15 Civ. 02739 and dkt. no. 481 in 16 Civ. 08569
SO ORDERED •

Dated:      June 30, 2025
            New York, New York


                                  o28/t4f 4 Ans-
                                LORETTA A. PRESKA
                                Senior United States District Judge




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